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                          UNITED STATES BANKRUPTCY COURT
                       GEORGE C. YOUNG FEDERAL COURTHOUSE
                       400 WEST WASHINGTON STREET, SUITE 5100
                                  ORLANDO, FL 32801

In re:
                                                       Case No. 6:17-bk-00294-KSJ
CATHERINE ECKLEY BENTLEY,                              Chapter 7
Debtor.
_____________________________
SUSAN KOLB, M.D.,                                     Adv. No. 6:17-ap-00047-KSJ
Plaintiff,

v.

CATHERINE ECKLEY BENTLEY,
Defendant.
______________________________
ROBERT E. THOMAS,                                     Adv. No. 6:17-ap-00048-KSJ
Plaintiff,

v.

CATHERINE ECKLEY BENTLEY,
Defendant.
______________________________
SUSAN KOLB, M.D.,                                     Adv. No. 6:17-ap-00119-KSJ
Plaintiff,

v.

CATHERINE ECKLEY BENTLEY,
Defendant.
______________________________/

     NOTICE OF PENDING GUARDIANSHIP PROCEEDINGS IN STATE COURT

         Debtor, CATHERINE BENTLEY, by and through the undersigned counsel, hereby gives

notice that a petition to determine Debtor’s incapacity and for appointment of a guardian has

been filed in Florida state court, a court of exclusive jurisdiction for adjudicating guardianship

matters, on March 14, 2018.

                                 CERTIFICATE OF SERVICE
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         I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished
by electronic transmission, if registered in the Electronic Case Filing System, otherwise by U.S.
Mail: U.S. Trustee, Chapter 7 Trustee, counsel for Trustee and creditor Susan Kolb, Esther
McKean, Guardian Advocate Michael Nardella and the law firm of Nardella & Nardella, PLLC
this 14th day of March, 2018.

                                                            /s/ Anna Handy
                                                            ___________________________
                                                            Anna Handy, Attorney for Debtor
                                                            Florida Bar No.: 0119532
                                                            Anna Handy Law Firm, P.A.
                                                            P.O. Box 730083
                                                            Ormond Beach, FL 32173
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